UNITED STATES DISTRICT COURT

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CENTRAL DISTRICT OF CALIFORNIA

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a y

CaseNumber __
U.S.A. v. Robert Boman (/ yf & a

 

Cy

&
Indictment [_] Information

CASE SUMMARY

 

netendal Number 2
Year of Birth 1993

 

 

7 Investigative agency (FBI, DEA, etc.) FBI

NOTE: All items MUST be completed. If you do not know the answer or a question is not applicable to your case, enter "N/A."

OFFENSE/VENUE

a. Offense charged as a:

[_] Class A Misdemeanor [_] Minor Offense [ ] Petty Offense
[_] Class B Misdemeanor [_] Class C Misdemeanor [¥] Felony
b. Date of Offense December 2016 - October 2018

 

c. County in which first offense occurred

Los Angeles

 

d. The crimes charged are alleged to have been committed in
(CHECK ALL THAT APPLY):

Los Angeles
[_] Orange

[_] Riverside

San Bernardino

[] Ventura

[_] Santa Barbara
[_] San Luis Obispo
[] Other

Citation of Offense 18 USC §§ 371, 2101, 2(a)

 

 

e. Division in which the MAJORITY of events, acts, or omissions
giving rise to the crime or crimes charged occurred:

Western (Los Angeles, San Luis Obispo, Santa Barbara, Ventura)
[_] Eastern (Riverside and San Bernardino) [_] Southern (Orange)

RELATED CASE

Has an indictment or information involving this defendant and
the same transaction or series of transactions been previously
filed and dismissed before trial?

No [_] Yes

If "Yes," Case Number:

 

Pursuant to General Order 16-05, criminal cases may be related
if a previously filed indictment or information and the present
case:

a. arise out of the same conspiracy, common scheme,
transaction, series of transactions or events; or

b. involve one or more defendants in common, and would
entail substantial duplication of labor in pretrial, trial or
sentencing proceedings if heard by different judges.

Related case(s), if any (MUST MATCH NOTICE OF RELATED
CASE):

 

 

CR-72 (12/17)

CASE SUMMARY

PREVIOUSLY FILED COMPLAINT/CVB CITATION
A complaint/CVB citation was previously filed on: 10/20/18

 

 

 

 

Case Number: 18-MJ-2791
Assigned Judge: The Honorable Steve Kim
Charging: 18 U.S.C. §§ 2101, 371 | mm SS
The complaint/CVB citation: a a

is still pending joo = =

[_] was dismissedon:N/A | => z = =
PREVIOUS COUNSEL Ps. m
Was defendant previously raat” “_| Ho ¥| Ye&D

> EB
IF YES, provide Name: Peter Swarth ?
Phone Number: 818-887-8800

 

COMPLEX CASE
Are there 8 or more defendants in the Indictment/Information?

[_] Yes* No

Will more than 12 days be required to present government's
evidence in the case-in-chief?

[| Yes* No

*AN ORIGINAL AND 1 COPY (UNLESS ELECTRONICALLY FILED)
OF THE NOTICE OF COMPLEX CASE MUST BE FILED AT THE
TIME THE INDICTMENT IS FILED IF EITHER "YES" BOX IS
CHECKED.

SUPERSEDING INDICTMENT/INFORMATION
IS THIS ANEW DEFENDANT? [_] Yes No
This is the N/A superseding charge (i.e., 1st, 2nd).

The superseding case was previously filed on:
N/A

Case Number N/A

 

 

The superseded case:
[_] is still pending before Judge/Magistrate Judge

N/A

_] was previously dismissed on N/A

 

 

Are there 8 or more defendants in the superseding case?
[_] Yes* No

Will more than 12 days be required to present government's
evidence in the case-in-chief?

[| Yes* No

Was a Notice of Complex Case filed on the Indictment or

Information?
No

[_] Yes
*AN ORIGINAL AND 1 COPY OF THE NOTICE OF COMPLEX CASE
MUST BE FILED AT THE TIME THE SUPERSEDING INDICTMENT IS
FILED IF EITHER "YES" BOX IS CHECKED.

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UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA
CASE SUMMARY

 

INTERPRETER
Is an interpreter required? [_] YES NO
IF YES, list language and/or dialect:

 

OTHER

Male ["] Female
U.S. Citizen [| Alien

Alias Name(s)

 

 

This defendant is charged in:
All counts

[_] Only counts:

 

[| This defendant is designated as "High Risk" per
18 USC § 3146(a)(2) by the U.S. Attorney.

[-] This defendant is designated as "Special Case” per
18 USC § 3166(b)(7).

Is defendant a juvenile? [_] Yes No
IF YES, should matter be sealed? [_] Yes No

The area(s) of substantive law that will be involved in this case
include(s):

 

 

 

CUSTODY STATUS

Defendant is not in custody:
a. Date and time of arrest on complaint: N/A

b. Posted bond at complaint level on: N/A
in the amount of $ N/A

c. PSA supervision? [_] Yes No

d. Is on bail or release from another district:
N/A

 

 

Defendant is in custody:
a. Place of incarceration: [_] State Federal

b. Name of Institution: Metropolitan Detention Center

 

c. If Federal, U.S. Marshals Service Registration Number:

 

d.[¥] Solely on this charge. Date and time of arrest:

10/24/18, 6:40 a.m.
e. On another conviction: [_] Yes No

IF YES: [_] State [_] Federal [_] Writ of Issue
f. Awaiting trial on other charges: [—] Yes No
IFYES: [| State [_] Federal AND

Name of Court:

 

 

Date transferred to federal custody:

 

[_] financial institution fraud [_] public corruption This person/proceeding is transferred from another district

[_] government fraud [_] tax offenses pursuanttoF.RCrP, 20 71 ___ 70
[_] environmental issues [_] mail/wire fraud

[ ] narcotics offenses [_] immigration offenses

violent crimes/firearms [_] corporate fraud

[_] Other

EXCLUDABLE TIME

Determinations as to excludable time prior to filing indictment/information. EXPLAIN:

 

 

 

Date November 1, 2018

Signature Vy
David T. Rye

Print Name

 

 

 

CR-72 (12/17)

CASE SUMMARY Page 2 of 2
